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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Civil No. 04-1508(DSD/SRN)


Elena Sefansky,

                     Plaintiff,

v.                                                            ORDER

United States of America,
doing business as United
States Postal Service,

                     Defendant.




        This matter is before the court upon defendant’s objection to

Magistrate Judge Susan Richard Nelson’s report and recommendation

dated       March   9,   2005.    In   her   report,   the   magistrate   judge

recommends that defendant’s motion to dismiss be granted in part

and denied in part.        After a de novo review of the file and record,

the court adopts the recommendation of the magistrate judge in

part.

        Plaintiff Elena Sefansky brought this action against defendant

United States, d/b/a U.S. Postal Service (“USPS”), pursuant to the

Federal Tort Claims Act (“FTCA”).1             Plaintiff seeks damages for

alleged injuries sustained as a result of a collision between her


        1
       The FTCA provides that “district courts ... shall have
exclusive jurisdiction of civil actions on claims against the
United States, for money damages, ..., for injury or loss of
property, or personal injury or death caused by the negligent or
wrongful act or omission of any employee of the Government while
acting within the scope of his office or employment ....”     28
U.S.C. § 1346(b)(1).
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vehicle and a USPS truck on August 8, 2001.            Plaintiff submitted a

written claim to defendant on November 20, 2001, claiming total

damages as “$2,752.26 + medical bills.”               Defendant rejected the

claim for failure to specify money damages in a sum certain.                  On

September 8, 2003, plaintiff sent a claim to defendant containing

a demand for a specific amount of damages.                   However, defendant

rejected the 2003 claim as untimely.             On April 8, 2004, plaintiff

filed this action.

        Defendant moved to dismiss plaintiff’s claims pursuant to

Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter

jurisdiction.       The magistrate judge concluded that the court does

not have jurisdiction over any action based upon the November 2001

claim submitted to defendant because plaintiff failed to present a

sum certain.        However, the magistrate judge determined that any

untimeliness of plaintiff’s September 2003 claim does not warrant

dismissal because the statute of limitations requirement of the

FTCA     is   not   a   jurisdictional       prerequisite.      See   28   U.S.C.

§ 2401(b).      Therefore, the magistrate judge recommended denying

defendant’s motion insofar as plaintiff’s action is based upon her

September 2003 claim.

        This court reviews the reports and recommendations of the

magistrate judge de novo.        See 28 U.S.C. 636(b)(1)(C).          Defendant

objects to the magistrate judge’s conclusion as to plaintiff’s

September 2003 claim and argues that plaintiff has not alleged


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facts sufficient to meet the statute of limitations requirement of

the FTCA.   The court construes defendant’s motion as one brought

pursuant to Rule 12(b)(6) for failure to state a claim.              See Less

v. Lurie, 789 F.2d 624, 625 & n.1 (8th Cir. 1986); see also

Robinson v. Dalton, 107 F.3d 1018, 1022 (3d Cir. 1997) (motion to

dismiss should be treated as pursuant to 12(b)(6) when involving

timeliness of exhaustion requirements); Ghartey v. St. John’s

Queens   Hosp.,   869   F.2d   160,   162   (2d   Cir.    1989)   (statute   of

limitations defense in a pre-answer motion to dismiss should be

treated as a 12(b)(6) motion rather than a 12(b)(1) motion).

     A complaint may be dismissed for failing to state a claim upon

which relief may be granted if, after taking all facts alleged as

true and drawing all reasonable inferences in favor of the non-

moving party, the court finds no possible set of facts under which

plaintiff would be entitled to relief.              See Fed. R. Civ. P.

12(b)(6); Haberthur v. City of Raymore, 119 F.3d 720, 723 (8th Cir.

1997).   Pursuant to the FTCA, a tort claim must be “presented in

writing to the appropriate Federal agency within two years after

such claim accrues.”      28 U.S.C. § 2401(b).       Looking solely at the

facts alleged in the complaint, plaintiff’s claim accrued on August

8, 2001, when the accident occurred. (See Compl. ¶ 3.) Therefore,

she was required to submit a claim for a sum certain to defendant

by August 8, 2003.      See 28 U.S.C. § 2401(b).         However, she did not




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submit a “precise demand for damages” until September 8, 2003,2

which is beyond the statute of limitations.              (See Compl. ¶ 12.)

        Plaintiff has neither pleaded equitable tolling of the statute

of limitations nor set forth facts that would entitle her to an

equitable basis for extending the statutory deadline.                   Rather,

plaintiff alleges that her September 2003 claim relates back to her

original timely claim of November 2001 and effectively amends the

earlier claim to include a specific demand for damages. (See Pl.’s

Mem. Opp’n Mot. Dismiss at 4-8.)            Plaintiff’s argument fails for

two reasons.       First, as the magistrate judge correctly concluded,

the court cannot exercise jurisdiction over any action based upon

the November 2001 claim.        An amendment of or relation back to that

claim       necessarily   includes   that   claim   in   the   action   against

defendant.3


        2
       The magistrate judge correctly noted that an action is
barred if the agency does not receive the claim within the
statutory period.    See 28 C.F.R. § 14.2(a).     Here, defendant
alleges that it received plaintiff’s second claim on September 23,
2003. However, for purposes of this motion, the court will assume
that the facts alleged in the complaint are true and that on
“September 8, 2003, Plaintiff supplemented [her] claim ....”
(Compl. ¶ 12.)
        3
       Plaintiff’s reliance on Thompson v. United States, 749 F.
Supp. 299 (D.D.C. 1990) is unavailing. In that case, the court
found that a letter accompanying the original claim stated known
damages and enumerated medical bills such that the agency could
estimate the value of the claim and determine whether to settle or
negotiate. Id. at 300. Therefore, the plaintiff in Thompson met
the notice requirement of the FTCA, and the later untimely claim
effectively amended the original claim. Here, plaintiff Sefansky’s
original claim did not meet the notice requirement because she
                                                    (continued...)

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     Second,    plaintiff   cannot   avail   herself   of   the   amendment

procedures as provided by statute.        Amendment is allowed only when

the original claim met the presentment requirements, including

specification of money damages in a sum certain.            See 28 C.F.R.

§ 14.2(c); 39 C.F.R. § 912.5(b). As already discussed, plaintiff’s

original claim in November 2001 did not meet the presentment

requirements.    (See also R&R at 12-13.)      Therefore, for all of the

above reasons, the court finds that no possible facts exist under

which plaintiff would be entitled to relief.



                               CONCLUSION

     Accordingly, after conducting a de novo review of the file and

record in this matter, the court adopts the magistrate judge’s

report and recommendation in part. Therefore, IT IS HEREBY ORDERED

that defendant’s motion to dismiss [Docket No. 4] is granted.

LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated:   March 28, 2005

                                          s/David S. Doty
                                          David S. Doty, Judge
                                          United States District Court




     3
      (...continued)
failed to specify any       amount   of    medical   expenses,    known   or
otherwise.

                                     5
